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Order Form (01/2005)


                              United States District Court, Northern District of Illinois

     Name of Assigned Judge         James F. Holderman            Sitting Judge if Other
        or Magistrate Judge                                        than Assigned Judge

   CASE NUMBER                            10 C 6816                           DATE                     12/22/2011
            CASE                                      Bank of America vs. Loretta B. Mealy et al
            TITLE

  DOCKET ENTRY TEXT

  Status hearing held. Receiver’s motion for approval of the final report of the receiver, reimbursement of
  receiver’s expenses, payment of receiver’s fees and payment of receiver’s counsel fees [120] is granted.
  ENTER AGREED ORDER.




  O [ For further detail see separate order(s).]                                                                    Notices mailed

  00:10




                                                                                           Courtroom Deputy         AMM
                                                                                                     Initials:




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